        Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 1 of 7




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           X
THE NEW YORK TIMES COMPANY                 :
and CHARLIE SAVAGE,                        :
                                           :
                                           :
                              Plaintiffs,  :
                                           : Civil Action No. 17-cv-87 (CRC)
                  - against -              :
                                           :
U.S. DEPARTMENT OF JUSTICE,                :
                                           :
                                           :
                               Defendant. :
                                           :
                                           :
__________________________________________X

     PLAINTIFFS’ STATEMENT OF MATERIAL FACTS NOT IN DISPUTE AND
     RESPONSE TO DEFENDANT’S STATEMENT OF FACTS NOT IN DISPUTE

       Pursuant to Local Civil Rule 7(h) of the Rules of the United States District Court for the

District of Columbia, Plaintiffs The Times and Charlie Savage (collectively, “The Times”)

hereby submit the following statement of material facts as to which The Times contends there is

no genuine issue in connection with its cross-motion for partial summary judgment and The

Times’s response to Defendant Department of Justice’s (“DOJ”) statement of material facts.

Response to Defendant’s Statement of Material Facts Not in Dispute

   1. The Times agrees that the facts set forth in ¶ 1 of DOJ’s statement of material facts are

       not in dispute.

   2. The Times agrees that the facts set forth in ¶ 2 of DOJ’s statement of material facts are

       not in dispute, except that The Times disputes the applicability of Exemption 5 and the

       attorney-client privilege.




                                                1
    Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 2 of 7




3. The Times agrees that the facts set forth in ¶¶ 3-4 of DOJ’s statement of material facts are

   not in dispute.

4. The Times agrees that the facts set forth in ¶¶ 5-7 of DOJ’s statement of material facts are

   not in dispute. The Times disputes, however, the implication that these facts demonstrate

   the existence of an attorney-client relationship between the Office of Legal Counsel

   (“OLC”) and the executive branch entity for purposes of legal advice contained in the

   Olson Memorandum, which they do not.

5. The Times disputes the facts set forth in ¶ 8 of DOJ’s statement of material facts.

   Exemption 5 does not shield the Olson Memorandum or the Cover Letter from disclosure

   under FOIA. Therefore, even assuming Exemptions 1 and 3 permit the withholding of

   some portions of the Olson Memorandum, both it and the Cover Letter contain

   reasonably segregable, nonexempt information.

6. The Times disputes the facts set forth in ¶ 9 of DOJ’s statement of material facts. The

   Times submits that DOJ has not demonstrated that, for purposes of the legal advice

   rendered in the Olson Memorandum, OLC stood in an attorney-client relationship with

   any executive branch entity other than the Attorney General.

7. The Times agrees that the facts set forth in ¶¶ 10-13 of DOJ’s statement of material facts

   are not in dispute. The Times submits, however, that DOJ has not demonstrated that its

   general statements about the need for and propriety of confidentiality in ¶¶ 11 and 13 still

   apply to the Olson Memorandum, given (1) the memorandum’s circulation outside the

   attorney-client relationship and (2) that the memorandum has become the working law of

   DOJ with respect to the constitutional implications of electronic surveillance under

   Executive Order (“EO”) 12333, 46 Fed. Reg. 59,941 (Dec. 4, 1981). (Decl. of David E.



                                            2
            Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 3 of 7




           McCraw (“McCraw Decl.”), Ex. 1, Ex. 2 at 22 (June 12, 2017).) Furthermore, DOJ has

           failed to explain what steps have been taken to protect the memorandum’s

           confidentiality.

       8. The Times agrees that the facts set forth in ¶¶ 14-17 of DOJ’s statement of material facts

           are not in dispute. The Times submits, however, that whatever OLC purports its role in

           executive branch policymaking to be generally, DOJ’s treatment of the Olson

           Memorandum has converted it into the working law of DOJ with respect to the

           constitutional implications of electronic surveillance under EO 12333. (See McCraw

           Decl., Ex. 1, Ex. 2 at 22.)

Plaintiffs’ Statement of Material Facts Not in Dispute

       9. The Olson Memorandum analyzes the constitutionality of contemplated National

           Security Agency (“NSA”) surveillance activities pursuant to its authority under EO

           12333. (McCraw Decl., Ex. 1 at 4 n.4, Ex. 2 at 22; Colbron Decl. ¶ 12, Ex. D (Vaughn

           index, second row).)

       10. The cover letter transmitted with the Olson Memorandum partially summarizes the

           contents of the Olson Memorandum and so is shielded by Exemption 5 only to the extent

           that the Olson Memorandum is. (Colborn Decl. ¶ 11.)

       11. The NSA is the non-Attorney General executive branch entity that DOJ’s declarant says

           provided information about its contemplated intelligence activity to OLC. 1 (McCraw

           Decl., Ex. 1 at 4 n.4 (title of Olson Memorandum indicates that it analyzes information

           pertaining to NSA surveillance activities); Colborn Decl., Exs. A, C (acknowledging

           existence of OLC memorandum responsive to FOIA request that asked for Olson

           Memorandum by title).)
1
    For ease of reference, The Times will refer to that non-Attorney General executive branch entity as the NSA.

                                                           3
    Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 4 of 7




The Attorney-Client Relationship

12. The Attorney General was the only executive branch entity to which OLC rendered the

   legal advice contained in the Olson Memorandum. (Colborn Decl. ¶ 16, Ex. D (Vaughn

   index, second row).)

13. DOJ has failed to establish for what purpose the Attorney General “eventual[ly]

   transmi[tted]” the Olson Memorandum to the NSA. (Colborn Decl. ¶ 16.)

14. DOJ has failed to establish when the Attorney General “eventual[ly] transmi[tted]” the

   Olson Memorandum to the NSA. (Colborn Decl. ¶ 16.)

15. In 1984, at the time the Olson Memorandum was prepared, when OLC was asked to

   provide legal advice to a non-DOJ client agency, it responded directly to that agency;

   separately, it was often asked by DOJ clients to provide legal advice with respect to the

   activity of non-DOJ agencies, which were not OLC’s clients for purposes of those

   memoranda. Compare, e.g., Mem. Op. for the Deputy Legal Adviser, Dep’t of State,

   from Larry L. Simms, Deputy Ass’t Att’y Gen., OLC, Authority of the State Department

   Office of Security to Investigate Passport and Visa Fraud (Aug. 17, 1984), available at

   http://bit.ly/2s5e0OO; Mem. Op. for the Acting Gen. Counsel, Dep’t of Def., from

   Theodore B. Olson, Ass’t Att’y Gen., OLC, Effect of INS v. Chadha on the Authority of

   the Secretary of Defense to Reorganize the Department of Defense Under U.S.C. § 125

   (Apr. 26, 1984), available at http://bit.ly/2t3rcB0, with Mem. Op. for the Acting Ass’t

   Att’y Gen., Civil Div., from Theodore B. Olson, Ass’t Att’y Gen., OLC, Authority of the

   Equal Opportunity Commission to Conduct Defensive Litigation (June 21, 1984),

   available at http://bit.ly/2r3wgEB; Mem. Op. for the Ass’t Att’y Gen., Land & Natural

   Res. Div., from Theodore B. Olson, Ass’t Att’y Gen., OLC, Application of the Resource



                                            4
    Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 5 of 7




   Conservation and Recovery Act to the Department of Energy’s Atomic Energy Act

   Facilities (Feb. 9, 1984), available at http://bit.ly/2r3umEb.

16. The only attorney-client relationship DOJ has established for purposes of the legal advice

   contained in the Olson Memorandum existed between OLC and the Attorney General.

   (Colborn Decl. ¶ 16.)

Third-Party Information

17. The NSA, not the Attorney General, provided OLC the information about contemplated

   intelligence activities whose constitutionality the Olson Memorandum analyzed.

   (Colborn Decl. ¶¶ 12, 16; McCraw Decl., Ex. 1 at 4 n.4 (indicating Olson Memorandum

   contains constitutional analysis of NSA surveillance activities).)

18. DOJ has not established that OLC provided legal advice to the NSA—whether directly or

   through the Attorney General—to guide a decisionmaking or policymaking process at the

   NSA. (Colborn Decl. ¶¶ 12, 16.)

19. DOJ has not established that the NSA was OLC’s client for purposes of the legal advice

   contained in the Olson Memorandum. (Colburn Decl. ¶¶ 12, 16.)

Confidentiality

20. DOJ has not established how widely within and outside DOJ the Olson Memorandum has

   been circulated or shared since it was drafted. (See Colborn Decl. ¶¶ 11-22.)

21. DOJ has not established that it has taken any steps—let alone what steps it has taken—to

   preserve the confidentiality of the Olson Memorandum within the scope of the attorney-

   client relationship. (See Colborn Decl. ¶¶ 11-22.)




                                             5
    Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 6 of 7




22. Among the executive branch officials who have had access to the Olson Memorandum

   are, in 2007, the Assistant Attorney General for NSD (McCraw Decl., Ex. 1) and, at some

   point not specified by DOJ, one or more officials at the NSA (Colborn Decl. ¶ 16).

23. In addition, Sen. Dianne Feinstein has said that multiple executive branch officials

   involved in EO 12333 surveillance activities have indicated before the Senate Judiciary

   Committee that they have had access to the Olson Memorandum. (McCraw Decl., Ex. 2

   at 22.)

24. DOJ has not explained how these and other officials who may have had access to the

   Olson Memorandum fall within the scope of the attorney-client relationship between

   OLC and the Attorney General. (See Colborn Decl. ¶¶ 11-22.)

Working Law

25. On November 20, 2007, then-Assistant Attorney General for NSD Kenneth L. Wainstein

   sent a memorandum to the Attorney General, via the Acting Deputy Attorney General,

   with the subject line “Proposed Amendment to Department of Defense Procedures to

   Permit the National Security Agency to Conduct Analysis of Communications Metadata

   Associated with Persons in the United States” (the “Wainstein Memorandum”). (McCraw

   Decl., Ex. 1 at 1.)

26. The Attorney General must approve NSA surveillance techniques under § 2.3 and § 2.4

   of EO 12333, 46 Fed. Reg. at 59,950-51, and to assist him in fulfilling that responsibility,

   the Wainstein Memorandum advised the Attorney General as to the legality of proposed

   NSA techniques for analyzing metadata pursuant to its authority under EO 12333.

   (McCraw Decl., Ex. 1 at 1-3, 8-10.)




                                             6
       Case 1:17-cv-00087-CRC Document 15-2 Filed 06/12/17 Page 7 of 7




   27. The Wainstein Memorandum gave equal precedential weigh to circuit law and the Olson

      Memorandum as to the Fourth Amendment implications of certain EO 12333

      surveillance activities. (McCraw Decl., Ex. 1 at 4 n.4.)

   28. The Wainstein Memorandum also cited the Olson Memorandum as authority for the

      analytic framework and methodology that guided its Fourth Amendment inquiry.

      (McCraw Decl., Ex. 1 at 4 n.4.)

   29. The Olson Memorandum was indexed and available to subsequent officials within OLC.

      See David J. Barron, Acting Ass’t Att’y Gen., OLC, Best Practices for OLC Legal Advice

      and Written Opinions, at 4-5 (July 16, 2010), available at http://bit.ly/1r7LHf3.

   30. Before the Senate Judiciary Committee, executive branch officials have relied on the

      Olson Memorandum to justify the legality of certain EO 12333-authorized electronic

      surveillance activities. (McCraw Decl., Ex. 2 at 22.)

   31. Those officials have referred to the Olson Memorandum as a “seminal OLC opinion” that

      “govern[s] the conduct of collection activities under Executive Order 12333.” (McCraw

      Decl., Ex. 2 at 22.)


Dated: New York, NY                                           Respectfully submitted,
       June 12, 2017

                                                                 /s/ David E. McCraw
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                                               7
